985 F.2d 574
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Alfredo RIVERA-PANTOJA, Petitioner,v.U.S. IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 91-70183.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 13, 1993.*Decided Feb. 4, 1993.
    
      Petition to Review a Decision of the Immigration and Naturalization Service, INS No. Act-qdb-yfk.
      BIA
      REVERSED AND REMANDED.
      Before CHOY, SCHROEDER and BRUNETTI, Circuit Judges.
      MEMORANDUM**
      Petitioner Alfredo Rivera-Pantoja seeks review of the Board of Immigration Appeals' ("BIA") dismissal of his application for asylum.   The BIA took administrative notice of the change of government in Nicaragua and concluded that petitioner therefore had no well-founded fear of persecution from the Sandinistas.   We recently held that the BIA may not take administrative notice on this issue without giving petitioner adequate warning and an opportunity to be heard.   Castillo-Villagra v. I.N.S., 972 F.2d 1017 (9th Cir.1992).   We must reach the same result here.
      We also reverse and remand the BIA's denial of petitioner's claim of past persecution.   The BIA's decision in this regard runs afoul of this circuit's prohibition of "boilerplate opinions."   Castillo v. I.N.S., 951 F.2d 1117 (9th Cir.1991).   In Castillo we held that the BIA's opinion "must state with sufficient particularity and clarity the reasons for denial of asylum."   Id. at 1121.   A review of the record in this case (and others that accompany it) demonstrates that the BIA failed to abide by Castillo's mandate.
      REVERSED and REMANDED.
    
    
      
        *
         The panel finds this case appropriate for submission without argument pursuant to Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    